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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                    Brian Austin Taylor                             )
                            Plaintiff                               )
                          v.                                        )       Civil Action No.      9:20-cv-01688-RMG
 H. Lee, H. Stanley, R. Brown, K. Jones, Dr. Patotto                )
                           Defendant                                )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

  the plaintiff (name)        recover from the defendant (name)           the amount of                            dollars ($ ),
which includes prejudgment interest at the rate of  %, plus postjudgment interest at the rate of                    %, along with
costs.

  the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
recover costs from the plaintiff (name)                      .

O other: Plaintiff, Brian Austin Taylor, shall take nothing of Defendants, H. Lee, H. Stanley, R. Brown, K. Jones and
Dr. Patotto, as to the complaint filed pursuant to 42 U.S.C. § 1983 this action is dismissed for lack of prosecution.



This action was (check one):
 tried by a jury, the Honorable                           presiding, and the jury has rendered a verdict.

 tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Richard M Gergel, United States District Judge, presiding. The Court having adopted the
Report and Recommendation set forth by the Honorable Molly H Cherry, United States Magistrate Judge.

Date: October 19, 2020                                                     ROBIN L. BLUME, CLERK OF COURT


                                                                                            s/C. Pegram-Conner
                                                                                       Signature of Clerk or Deputy Clerk
